                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


UNITED STATES OF AMERICA,                          )
                                                   )
                       Plaintiff,                  )
                                                   )
v.                                                 )             No. 3:06-CR-170
                                                   )             (JORDAN/SHIRLEY)
FERNANDO TIJERINA,                                 )
                                                   )
                       Defendant.                  )


                                MEMORANDUM AND ORDER

               This matter came before the undersigned on August 1, 2007, for a scheduled

detention hearing. Assistant United States Attorney Tracee Plowell was present representing the

government. Attorney Brian Hunt was present representing Defendant Tijerina, who was also

present.

               In the Court’s oral ruling, a complete review and analysis of the parties’ positions,

issues, and facts were stated. That specific and detailed oral ruling is attached hereto and made a

part of this Order as if stated herein verbatim.

               For the reasons stated therein, I find, pursuant to 18 U.S.C. § 3142, that (1) the

government has met the burden of establishing by a preponderance of the evidence that Defendant

is a flight risk and a risk not to appear as required if released, and (2) the government has not met

the burden of establishing by clear and convincing evidence that Defendant Tijerina’s release would

pose a danger to the community. Furthermore, the Court finds that there are no conditions or

combination of conditions of release that would reasonably assure the Court that Defendant would

appear as ordered.




Case 3:06-cr-00170-RLJ-CCS           Document 33        Filed 08/10/07      Page 1 of 2      PageID
                                            #: 8
               It is therefore ORDERED that Defendant, Fernando Tijerina, be detained. Defendant

will be committed to the custody of the Attorney General or his designated representative for

confinement in a correction facility separate to the extent practicable from persons awaiting

sentencing or serving sentences or being held in custody pending appeal. Defendant shall be

afforded a reasonable opportunity for private consultation with defense counsel. Upon order of this

Court or a Court of the United States or upon request of the attorney for the government, the person

in charge of the corrections facility shall deliver Defendant to the United States Marshals for the

purpose of an appearance in connection with a Court proceeding.

               IT IS SO ORDERED.

                                                     ENTER:



                                                       s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge




                                                 2


Case 3:06-cr-00170-RLJ-CCS           Document 33         Filed 08/10/07     Page 2 of 2     PageID
                                            #: 9
